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UNITED STATES DlSTRlCT COURT
WESTERN DlSTRlCT OF TENNESSEE
MEMPHlS DlVlSlON

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UN|TED STATES OF AMER|CA

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.v- 2:04cR20343-01.D , ,V¢,_:W,|F.H,S

CLARENCE JAMES
Ap_timd_e@
Defense Attorney
200 Jefferson, Ste. 200
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on February 04, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & section Me_rm Offense Mt_sl
Concluded
18 U.S.C. §§ 922(g) & 924(e) Fe|on in Possession of a Firearm 08/18/2003 ‘l

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the lVlandatory
Victims Restitution Act of 1996

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until ali
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 08/20/1976 May 11, 2005
Deft's U.S. l\/|arsha| No.: 19837-076

Defendant’s lV|ailing Address:
524 Lauderdale Oak Cove
#106

l\/lemphis, TN 38126

 
 

/ - .
BERN|CE B. DONALD
UN|TED STATES DlSTRlCT JUDGE

May ii , 2005

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Case No: 2:04CR20343-01 Defendant Name: Clarence JAN|ES Page 2 of4

|N|PRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 60 Months.

The Court recommends to the Bureau of Prisons:
That the defendant be designated to a facility near the lV|emphis, Tennessee area;
That the defendant participate in the 500 hour intensive Drug Treatment Program.

The defendant is remanded to the custody of the United States |V|arsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment.
UNlTED STATES lVlARSl-|AL
By:

 

Deputy U.S. l\/larsha|

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Case No: 2:04CR20343-0‘l Defendant Name: Clarence JAMES Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substancel The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial districtwithout the permission of the court or probation officer;

2. The defendant shail report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ocher;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distributel or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where Controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofticer;

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Case No: 2:04CR20343-01 Defendant Name: Clarence JA|V|ES Page 4 of 4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

1‘i. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ocher, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADDIT|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

The defendant shall participate in mental health evaluation and treatment, to include
cognitive development as directed by the Probation Officer;

The defendant shall cooperate with DNA collection as directed by the Probation Officer;

The defendant shall submit to substance abuse testing and treatment as directed by the
Probation Officer;

The defendant shall obtain and maintain full time employment as directed by the Probation
Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the scheduie of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Total Fine Total Restitution
$100.00
The Special Assessment shall be due immediately
FlNE
No fine imposed
REST|TUT|ON

No Restitution was ordered.

UNITED SATE ISTRICT COURT - WTERN DISRTCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CR-20343 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

April Rose Goode

FEDERAL PUBLIC DEFENDER
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Ste. 200

i\/lemphis7 TN 38103

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DlSTRlCT COURT

